PROB 12C       Case 6:09-cr-00043-ADA     Document 310     Filed 04/21/25   Page 1 of 3
                                                                                       FILED
(7/93)

                                  United States District Court
                                                                                    April 21, 2025
                                               for                              CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS

                                                                                              AE
                                                                             BY: ________________________________
                        WESTERN DISTRICT OF TEXAS - WACO                                             DEPUTY




            Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Joshua Lee Johnson                             Case Number: W-09-CR-00043(04)

Name of Sentencing Judicial Officer: United States District Judge Walter S. Smith Jr.

Date of Original Sentence: August 19, 2010

Original Offense: Count 2SS: Conspiracy to Manufacture Methamphetamine, a Schedule II
                  Controlled Substance, in violation of 21 U.S.C. § 846 {21 U.S.C. §§ 841(a)(1) &
                  841(b)(1)(C)}; Count 6SS: Possession of a Chemical, Product, or Material to
                  Manufacture a Controlled Substance, Namely Methamphetamine, a Schedule II
                  Controlled Substance, in violation of 21 U.S.C. §§ 843(a)(6) & (d)(2)

Original Sentence:       Two hundred (200) months confinement as to Count 2SS and one hundred
                         twenty (120) months confinement as to Count 6SS to be served concurrently,
                         three (3) years supervised release as to each Count to be served concurrently,
                         workforce development program participation, fine in the amount of
                         $2,000.00, and a $200.00 special assessment.

Maximum Term of Imprisonment Upon Revocation: 2 years

Type of Supervision: Supervised Release          Date Supervision Commenced: September 8, 2023

Assistant United States Attorney: Stephanie Smith-Burris      Defense Attorney: Turner Ford Gassaway
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                     PREVIOUS COURT ACTION

On June 4, 2015, Pursuant to 18 U.S.C. § 3582(c)(2), Mr. Johnson’s Motion for Sentence Reduction
was granted and the term of imprisonment, as to Count 2SS, was reduced from 200 months to 180
months.

On October 11, 2023, the Court was notified that Mr. Johnson tested positive for marijuana. No
punitive action was taken, and Mr. Johnson was referred to treatment.

On February 7, 2024, the Court was notified that Mr. Johnson tested positive for marijuana. No
punitive action was taken, and Mr. Johnson was referred to treatment.
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On May 29, 2024, the Court was notified that Mr. Johnson tested positive for marijuana. No punitive
action was taken, and Mr. Johnson was referred to treatment.

On January 23, 2025, the Court was notified that Mr. Johnson tested positive for marijuana. No
punitive action was taken, and Mr. Johnson was referred to treatment.
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                                      PETITIONING THE COURT

[X] To issue a warrant                            [] To issue a summons


The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number 1: The defendant violated Mandatory Condition Number 2, in that he unlawfully
possessed and used a controlled substance, in that on October 3, 2023, Mr. Johnson submitted a urine
specimen which tested positive for marijuana.

Factual Basis: The defendant tested positive for marijuana on a urine drug screen and subsequently
signed an admission form.

Violation Number 2: The defendant violated Mandatory Condition Number 2, in that he unlawfully
possessed and used a controlled substance, in that on December 5, 2023, and February 1, 2024, Mr.
Johnson submitted urine specimens which tested positive for marijuana.

Factual Basis: The defendant tested positive for marijuana on a urine drug screen and subsequently
admitted to use of marijuana.

Violation Number 3: The defendant violated Mandatory Condition Number 2, in that he unlawfully
possessed and used a controlled substance, in that on May 14, 2024, Mr. Johnson submitted a urine
specimen which tested positive for marijuana.

Factual Basis: The defendant tested positive for marijuana on a urine drug screen and subsequently
stated that he has been buying CBD products from a local smoke shop.

Violation Number 4: The defendant violated Mandatory Condition Number 2, in that he unlawfully
possessed and used a controlled substance, in that on January 14, 2025, Mr. Johnson submitted a urine
specimen which tested positive for marijuana.

Factual Basis: The defendant tested positive for marijuana on a urine drug screen. The sample was
subsequently confirmed positive at a laboratory.
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Violation Number 5: The defendant violated standard condition number 6, in that he failed to notify
the Probation Officer at least ten days prior to any change in residence or employment.

Factual Basis: On January 27, 2025, the probation office was notified that the defendant was no longer
employed. The defendant did not notify the probation officer 10 days prior to employment change, or
thereafter until the probation officer addressed the violation on or about January 29, 2025.

Violation Number 6: The defendant violated Mandatory Condition Number 2, in that he unlawfully
possessed and used a controlled substance, in that on April 8, 2025, Mr. Johnson submitted a urine
specimen which tested positive for marijuana.

Factual Basis: The defendant tested positive for marijuana on a urine drug screen. The sample was
subsequently confirmed positive at a laboratory.


  Approved by:                                             Respectfully submitted:


  ___________________________                              ________________________________
  David R. Mercier                                         Tana Davis
  Supervising U.S. Probation Officer                       U.S. Probation Officer
  Date: April 21, 2025                                     Date: April 21, 2025


  THE COURT ORDERS:

  ☐ No Action.

  ☐ The issuance of a warrant.

  ☐ The issuance of a summons.

  ☐ Other.

                                                    ___________________________________
                                                    Derek T. Gilliland
                                                    United States Magistrate Judge

                                                                04/21/2025
                                                    ___________________________________
                                                                 Date
